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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                            MEMORANDUM AND ORDER


Honorable Lawrence J. O'Neill
United States District Judge
Fresno, California
                                          RE:    MANOP SOUKSAVATH
                                                 Docket Number: 1:10CR00462-003 LJO
                                                 ORDER FOR CONTINUANCE OF
                                                 JUDGMENT AND SENTENCING

Your Honor:

Per agreement with both counsel, it is respectfully requested that sentencing in the above-
referenced case be continued from September 2, 2011 to September 23, 2011 at 10:00
a.m. (See the attached amended Schedule for Disclosure.)

REASON FOR CONTINUANCE: The probation officer is unable to interview the defendant
for the presentence investigation report (PSR) in a timely manner as the defendant is
currently incarcerated at Lerdo Jail (Kern County) and no appointments are available at the
United States Marshal lock-up facility until July 28, 2011. (The draft PSR is currently
scheduled to be distributed to Government and defense counsel on July 29, 2011).
Therefore, the probation officer needs additional time to prepare the report and
recommendation.

By copy of this memorandum, the Court Clerk is being requested to make appropriate
changes in the Court calendar.

                                 Respectfully submitted,

                                /s/ Robyn A. Marootian
                               ROBYN A. MAROOTIAN
                        Senior United States Probation Officer



REVIEWED BY:          /s/ John R. Hatfield
                     JOHN R. HATFIELD


                                             1                                                    R ev. 05/2011
                                                                 C O N T IN U A N C E ~ T O JU D G E (E JG ).M R G
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RE:      MANOP SOUKSAVATH
         Docket Number: 1:10CR00462-003 LJO
         ORDER FOR CONTINUANCE OF JUDGMENT AND SENTENCING


                      Supervising United States Probation Officer
Dated:         July 18, 2011
               Fresno, California
               RAM

Attachment

cc:      Clerk, United States District Court
         United States Attorney's Office
         United States Marshal's Office
         Federal Defender (If defense counsel is court-appointed)
         Probation Office Calendar clerk



 X       Approved

         Disapproved




                                             2                                                   R ev. 05/2011
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                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA                        Docket Number: 1:10CR00462-003 LJO

                         Plaintiff,             SCHEDULE FOR DISCLOSURE OF
                                                PRESENTENCE REPORT AND FOR
         vs.                                    FILING OF OBJECTIONS TO THE
                                                PRESENTENCE REPORT
MANOP SOUKSAVATH

                         Defendant.
                                         /

The Probation Officer and all parties shall adhere to this schedule unless it is later
modified by this Court:
    Judgment and Sentencing Date:                            09/23/2011


    Counsel's formal objections to the Presentence
    Report shall be filed with the Court no later than:      09/16/2011


    The Presentence Report shall be filed with the
    Court and disclosed to counsel no later than:            09/09/2011


    Counsel's written objections to the Presentence
    Report shall be delivered to the Probation Officer
    and opposing counsel no later than:                      09/02/2011


    The proposed Presentence Report shall be
    disclosed to counsel no later than:                      08/19/2011

IT IS SO ORDERED.

Dated:         July 20, 2011                     /s/ Lawrence J. O'Neill
b9ed48                                       UNITED STATES DISTRICT JUDGE




                                               3                                                R ev. 05/2011
                                                               C O N T IN U A N C E ~ T O JU D G E (E JG ).M R G
